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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SECURITIES AND EXCHANGE COMMISSION,

                               Plaintiff,

        v.                                                  No. 1:23-cv-1346 (JSR)

 TERRAFORM LABS PTE LTD. and
 DO HYEONG KWON,

                               Defendants.

 SECURITIES AND EXCHANGE COMMISSION’S RESPONSE TO SUPPLEMENTAL
      AUTHORITY IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
       Plaintiff Securities and Exchange Commission respectfully responds to Defendants’

submission (ECF No. 47) regarding a summary judgment ruling in a different case pending in

this District. In SEC v. Ripple Labs, Inc., 2023 WL 4507900 (S.D.N.Y. July 13, 2023), the court

considered whether sales of a crypto asset called “XRP” were sales of “investment contracts”

under SEC v. W.J. Howey Co., 328 U.S. 293 (1946). The court concluded that Ripple’s sales of

XRP in so-called “Institutional Sales,” i.e., those made “directly to certain counterparties …

pursuant to written contracts,” were offers and sales of investment contracts, 2023 WL 4507900

at *2, *8-11, but that its “Programmatic Sales” to “less sophisticated” investors “on digital asset

exchanges” and certain distributions of XRP for services were not. Id. at *2, *11-13.

       Contrary to Defendants’ assertions, much of the Ripple ruling supports the SEC’s claims

in this case and rejects arguments Defendants have raised here. However, with respect to the

Programmatic and other sales, the SEC respectfully avers that Ripple conflicts with and adds

baseless requirements to Howey and its progeny. Respectfully, those portions of Ripple were

wrongly decided, and this Court should not follow them. SEC staff is considering the various

available avenues for further review and intends to recommend that the SEC seek such review.
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I.     Ripple’s Holding as to Institutional Sales Supports the SEC’s Arguments Here.

       Ripple rejected two arguments Defendants make in their motion to dismiss here. First,

Defendants argue that Howey requires that the purchaser of an investment contract have a legal

entitlement to share in the profits of the enterprise. ECF No. 29, at 13-14. Yet Ripple “reject[ed]

Defendants’ argument that all investment contracts must include post-sale obligations on the

promoter and grant the investor a right to share in profits from the promoter’s efforts.” 2023 WL

4507900, at *6. Second, Defendants argue that the SEC did not “provide[] Defendants with fair

notice of its retroactive interpretation of securities laws it now asserts in this case.” ECF No. 29,

at 10-11. But Ripple rejected that defense, finding that “Howey sets forth a clear test for

determining what constitutes an investment contract.” 2023 WL 4507900, at *14-15; but see id.

at *15 n.20 (not addressing defense regarding Programmatic Sales).

       Defendants assert a hodgepodge of purported factual differences between their crypto

asset sales and Ripple’s Institutional Sales. See ECF No. 47 at 2-3. But none of those purported

factual distinctions are sufficient to distinguish Defendants’ sales from Ripple’s for purposes of

Howey, given the Amended Complaint’s detailed allegations of statements that led investors to

reasonably expect profits from Defendants’ efforts. See Opp. to Mot. to Dismiss at 16-28. And

on a motion to dismiss, the Court must draw reasonable inferences in the SEC’s favor—

including that the institutional buyers in this case, such as trading firms that purchased

Defendants’ crypto assets with no restrictions on resale, purchased because they viewed the

assets as an investment opportunity into Terraform’s efforts. See e.g., Am. Compl. ¶¶ 105-08. 1


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 Defendants’ assertion that the SEC made a “concession at oral argument” regarding the crypto
asset securities at issue in this case is baseless. Counsel made the simple observation that in
conducting a Howey analysis, courts do not look at crypto assets (or any other asset) in a
vacuum, but instead in the context of how the assets were offered and sold. See SEC v. Telegram
Grp. Inc., 448 F. Supp. 3d 352, 365 (S.D.N.Y. 2020) (“The enterprise and the described


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II.    Ripple’s Holding as to Programmatic Sales Is Incorrect and Should Not Be Followed.

       By contrast, Ripple’s analysis of Programmatic Sales cannot be squared with Howey and

decades of federal securities laws jurisprudence. This Court should not follow it.

       Ripple correctly concludes that defendants’ extensive public statements promoting XRP

created in institutional buyers reasonable expectations of profits from Ripple’s efforts. 2023 WL

4507900, at *8-11. The same result should have followed directly with respect to retail buyers

too. Instead, Ripple creates an artificial distinction between the expectations of sophisticated

institutional and retail investors, improperly transforms Howey’s reasonable investor inquiry into

a subjective one, and turns on its head the reasoning underlying Howey and other cases.

       First, what an investor reasonably expects does not depend on whether the investor buys

into the investment directly from or communicates directly with the promoter. The promoter’s

choice of using intermediaries to sell does not alter reasonable expectations—those who buy

indirectly have the same reasonable expectations. Those expectations arise from the promoters’

same public statements and from the same economic reality of the investment (e.g., Ripple, 2023

WL 4507900, at *10 (discussing widely available touts of XRP on the internet)), and not from

how, mechanically, funds flow to the promoter. In other words, when investing, even through

impersonal transactions, a reasonable investor would have understood that she was buying into

the promoter’s touted efforts to develop the investment. Thus, Section 5 expressly proscribes

“offer[s] to sell,” as well as sales made “directly or indirectly” through intermediaries, 15 U.S.C.

§ 77e, and courts have found Section 5 violations where unregistered securities transactions

occur through the use of intermediaries, showing that Ripple’s direct purchase requirement does



materials, by the very nature of the operation of the securities laws, must be examined as of the
time that the transaction took place, together with the knowledge and the objective intentions and
expectations of the parties.”) (citations omitted).
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not exist. E.g., Telegram, 448 F. Supp. 3d at 380-81 (sales through underwriters); SEC v. LBRY,

Inc., 2022 WL 16744741, at *3 (D.N.H. Nov. 7, 2022) (sales on platforms).

       Second, Ripple erroneously creates two different “reasonable investor” standards—one

for institutional and another for retail investors—but creating any such subjective dichotomy is

contrary to Howey. Telegram, 448 F. Supp. 3d at 371. In concluding that the Programmatic

Sales did not constitute the offer and sale of an investment contract, Ripple considered whether

those “generally less sophisticated” investors could properly parse and comprehend the promises

made to them. 2023 WL 4507900, at *12. But investors’ subjective views are not determinative.

See Warfield v. Alaniz, 569 F.3d 1015, 1021 (9th Cir. 2009). And to conclude that the SEC must

prove investors’ specific knowledge of particular statements would improperly require the SEC

to show reliance in its enforcement actions. See Lorenzo v. SEC, 139 S. Ct. 1094, 1104 (2019).

       Third, Ripple misconstrues the “efforts of others” analysis in other ways. This prong is

meant to identify “whether the efforts made by those other than the investor are the undeniably

significant ones, those essential managerial efforts which affect the failure or success of the

enterprise.” SEC v. Glenn W. Turner Enters, Inc., 474 F.2d 476, 482 (9th Cir. 1973). But Ripple

appears to improperly add requirements to this analysis, including that the seller have made

promises directly to each investor, that each investor knows that her money was going directly to

the promoter, that the expectations (as opposed to the profits) derive from the issuer’s efforts,

and that the investor believe that her proceeds would be used directly to undertake the relevant

efforts. 2023 WL 4507900, at *11-12. These factors are plainly not a part of the Howey

analysis. E.g., LBRY, 2022 WL 16744741, at *5; Telegram, 448 F. Supp. 3d at 371-72.

       Finally, the underlying logic of the Ripple ruling is divorced from the basic principles

behind Howey and the federal securities laws more broadly. When distinguishing between



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classes of investors, courts construe the federal securities laws’ provisions to provide more—not

less—protection to retail investors. SEC v. Ralston Purina & Co., 346 U.S. 119, 124 & n.10

(1953). When courts applying Howey analyze a market of dispersed retail investors, dispersion

makes it more, not less, likely that the reasonable investor expected profits from someone else’s

efforts. E.g., United States v. Leonard, 529 F.3d 83, 90-91 (2d Cir. 2008) (investors were

“lacking in requisite expertise, so numerous, or so dispersed that they become utterly dependent

on centralized management”). When courts consider the impersonal nature of securities

solicitations in the modern world and securities markets, they reason that drawing distinctions

between “‘personal’ or individualized solicitations” makes “little sense” and would permit

sellers to “dodge [Securities Act] liability through [their] choice of communications.” Wildes v.

BitConnect, 25 F.4th 1341, 1345-46 (11th Cir. 2021). When courts construe the federal

securities laws, they are generally mindful of the impersonal nature of the secondary trading

markets, and Howey’s objective standard presumes that investors are aware of all information

reasonably available to them. See SEC v. C. M. Joiner Leasing Corp., 320 U.S. 344, 353 (1943)

(courts look to the “economic inducements held out” in promotional materials and promoters’

offerings are “judged as being what they were represented to be”); Piambino v. Bailey, 610 F.2d

1306, 1320 (5th Cir. 1980) (looking to “expectations of a ‘reasonable investor’ as prompted by

[promoter]’s standardized presentation”). Ripple’s reasoning is impossible to reconcile with all

of these fundamental securities laws principles. 2



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        Even if Ripple’s analysis of Programmatic Sales were correct, it still would not support
dismissal here. For example, while Ripple concluded that retail investors did not necessarily
know that they were investing into Ripple’s efforts, the Court here can and should reasonably
infer on this motion to dismiss that—given Do Kwon’s visible and personal offers of securities
to investors, and the fact that the crypto assets at issue referred to or directly bore Terraform
Lab’s or its project’s names (e.g., UST/Anchor, MIR, LUNA, and wLUNA), Am. Compl. ¶¶ 43,
54, 82—investors here did understand that they were buying into Terraform’s efforts.
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Dated: July 21, 2023                Respectfully submitted,

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